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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

    In the Matter of the
    Federal Bureau of Prisons’ Execution
    Protocol Cases
                                                           Case No. 19-mc-0145 (TSC)
    LEAD CASE: Roane, et al. v. Garland
    THIS DOCUMENT RELATES TO:
    ALL CASES

                 STIPULATION AND [PROPOSED] ORDER OF DISMISSAL

          WHEREAS, Plaintiffs filed these actions 1 seeking injunctive and declaratory relief for

various claims brought under the Fifth, Sixth, and/or Eighth Amendments to the U.S. Constitution

and Administrative Procedures Act, 5 U.S.C. § 551 et seq.;

          WHEREAS, on August 20, 2019, the Court consolidated these actions (see C.A. No. 19-

mc-145-TSC, D.I. 1);

          WHEREAS, on September 8, 2021, the parties stipulated to stay these actions pending the

completion of the review by the Department of Justice’s Office of Legal Policy, under the

supervision of the Deputy Attorney General, of the Federal Execution Protocol Addendum (see

C.A. No. 19-mc-145-TSC, D.I. 433);

          WHEREAS, pursuant to the September 8, 2021 Minute Order staying these actions, the

parties submitted a joint status report every ninety days pending the completion of the Department

of Justice’s review (see C.A. No. 19-mc-145-TSC, Minute Order of September 8, 2021);




1
 Plaintiffs are Richard Tipton, III; Norris G. Holder; Bruce Webster; Anthony Battle; Jeffrey Paul;
James H. Roane, Jr.; Julius O. Robinson; and Chadrick Fulks. See Roane, Jr. et al. v. Barr et al.,
C.A. No. 05-cv-2337; Robinson v. Barr et al., C.A. No. 07-cv-2145; Fulks v. U.S. Dept. of Justice
et al., C.A. No. 13-0938, Holder v. Barr et al., C.A. No. 19-cv-3520.
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          WHEREAS, in the December 2, 2024 Joint Status Report, the parties reported “that the

Department of Justice’s review of the policies and procedures for federal executions, including the

2019 Execution Protocol Addendum, is nearing completion and is expected to be completed before

the next status report, scheduled for March 3, 2025” (see C.A. No. 19-mc-145-TSC, D.I. 449);

          WHEREAS, Plaintiff Bruce Webster’s death sentence has been vacated (see Webster v.

Watson, 975 F.3d 667 (7th Cir. 2020), affirming the district court’s judgment vacating Webster’s

capital sentence) and Mr. Webster has been moved off federal death row;

          WHEREAS, Plaintiff Jeff Paul’s death sentence has been vacated (see Order of

08/02/2022, Paul v. Superintendent, No. 2:13-cv-00304-JMS-MJD (S.D. Ind. 2022)) and Mr. Paul

has been moved off federal death row;

          WHEREAS, on December 23, 2024, President Joseph R. Biden, Jr. issued an Executive

Grant of Clemency that commuted the sentences of death imposed as to thirty-seven persons,

including each of the remaining Plaintiffs, to sentences of life imprisonment; 2

          WHEREAS, the parties have conferred and agree that, in view of the Executive Grant of

Clemency and the vacatur of Plaintiffs Webster’s and Paul’s death sentences, each of the Plaintiffs

is no longer under a sentence of death and therefore cannot be subject to execution by Defendants

for the crimes that resulted in their prior death sentences;

          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED TO, by and

between the parties, subject to the approval of the Court, that:

          1.     Each of the above-captioned cases is dismissed; and

          2.     Each party shall bear its own fees and costs in connection with these actions.




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    A copy of the Executive Grant of Clemency is attached as Exhibit 1.


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Respectfully submitted,                         Dated: January 10, 2025

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SO ORDERED, this ____________ day of _______________, 2025.



                                            ________________________________
                                            United States District Court Judge




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